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 Government ✔                    United States

 Plaintiff                            VS.
                                                           Criminal No. 21-CR-00060 (CKK)
 Defendant                        Jesus D. Rivera

 Joint

 Court
                          GOVERNMENT’S EXHIBIT LIST


Government           Exhibit Description         Marked     Rec’d        Witness         Notes
Exhibit No.                                       for ID     into
                                                           Evidence
                   00-99 Series: Physical
                         Evidence

     1         2 CDs with original videos from                        Chan/Nogueiras    iPhone
                           devices                                                     download
                                                                                        Premise
                                                                                           SW
     4            1B4 Sony digital camera                             Chan/Nogueiras    Premise
                                                                                          SW
     9               1B9 Red/Black Plaid                              Chan/Nogueiras    Premise
               Fleece button down shirt                                                   SW
    11            1B11 iPhone 10 in Black                             Chan/Nogueiras    Premise
                      Otterbox case                                                       SW
    12         1B12 Black 128GB Extreme Pro                           Chan/Nogueiras    Premise
                Sandisk SD Card, found inside                                             SW
                            1B4



                     100-199 Series:
               Maps/Diagrams & Photographs

    100           Capitol photograph with                               Stipulation      USCP
                         perimeter                                        USCP
    101         Photograph IMG 180 CU area                                USCP           Chance
                        closed sign                                                     Uptmore
                                                                                          video
                                                                                       through SW
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Government          Exhibit Description         Marked     Rec’d     Witness       Notes
Exhibit No.                                      for ID     into
                                                          Evidence
    101a         Photograph CU IMG 180                                 USCP
                        closed sign                                  Nogueiras


    102       Photograph IMG 181 CU closed                             USCP       Chance
                       with fence                                    Nogueiras    Uptmore
                                                                                    video
                                                                                 through SW
    102a      Photograph IMG 181 CU closed                             USCP
                       with fence                                    Nogueiras


    103       20.14 Closure of West Front for                          USCP        USCP
                       Inauguration


    104        January 5, 2021 Area Closed                             USCP        USCP
                       photograph


    105            USCP ground closure                                 USCP        USCP
                     announcement

    106         Capitol Model by Deloitte                              USCP       Deloitte




                    200-299 Series:
                   Documents/Reports

    200


    201                Stipulations


    202



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Government          Exhibit Description          Marked     Rec’d         Witness         Notes
Exhibit No.                                       for ID     into
                                                           Evidence
   203        Email - USSS HOS Notification-                          USSS Hawa          USSS
               Vice President Pence, Mrs.
                   Pence and daughter
   204        Worksheet - Notification – Visit                          USSS Hawa        USSS
                of Vice President Michael

   205         U.S. Constitution, Amend. XII                          Judicial Notice
                                                                        Stipulation
   206         Title 3, United States Code, §                          Judicial Notice
                             15                                       Stipulation
   207         Title 3, United States Code, §                         Judicial Notice
                             16                                         Stipulation
   208        Title 3, United States Code, §                          Judicial Notice
              17                                                        Stipulation
   209         Title 3, United States Code, §                         Judicial Notice
                             18                                         Stipulation
   210         S. Con. Res. 1, dated Jan. 3,                          Judicial Notice
                           2021                                         Stipulation
   211         Congressional record - House                           Judicial Notice
                                                                        Stipulation
   212         Congressional record - Senate                          Judicial Notice
                                                                        Stipulation
   213           House Video Certification                              Stipulation


   214          Senate Video Certification                              Stipulation


   215




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Government          Exhibit Description         Marked     Rec’d      Witness          Notes
Exhibit No.                                      for ID     into
                                                          Evidence
               300-399 Series: Audio/Video


   300         6min 21 sec - Montage of Video                        Stipulation       USCP
                Footage from USCP Security                              USCP

   301         Montage of Video Footage from                         Stipulation   Congress USAO
                the U.S. House and Senate on
                       January 6, 2021
   302               Peace Circle CCTV                                 USCP            CCTV
                     RF Northwest Roof
   303               Peace Circle CCTV                                 USCP            CCTV
                      Peace Circle NW
   304          Peace Circle CCTV ISO time -                           USCP            CCTV
                        lapse video

   305         4d3545d197be101f5c0dd5a1ede                           Nogueiras       HQ FB SW
                         6dcad.mp4                                                 1/11/21
                       Walking to Capitol
   306                Clip_C0067.MP4                                 Nogueiras      Def. camera
                     Walking up lawn                                                  SD card
   307               CU_IMG_0213.MP4                                   USCP        Chance
                       On NW lawn                                    Nogueiras     Uptmore video
                                                                                   through SW
   308                   C0068.MP4                                   Nogueiras      Def. camera
                     Police on NW stair                                               SD card

   309        UWT CCTV                                                 USCP            CCTV
              NW stairs - Cone being thrown                          Nogueiras

   310          Clips combined_breach_NW                             Nogueiras       HQ FB SW
                            stairs_                                                   1/11/21
              C29349b61ed9820754d9566d949
                      35e1a.mp4-mp4
   311            Senate Wing Door CCTV                                USCP            CCTV
              Before 1st Breach/First Breach                         Nogueiras




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Government          Exhibit Description         Marked     Rec’d     Witness         Notes
Exhibit No.                                      for ID     into
                                                          Evidence
   312                    C0071.MP4                                  Nogueiras    Def. camera
                         Going up stairs                                            SD card
   313          Clip_LC video GH010092.mp4                             USCP        Lloyd Cruz
                           On UWT                                    Nogueiras    GoPro video
                                                                                 obtained from
                                                                                 Cruz voluntary
                                                                                    consent
   314                  C0073.MP4                                    Nogueiras    Def. camera
               Showing crowd and police UWT                                          SD card

   315            Senate Wing Door CCTV                                USCP          CCTV
               During 1st Breach/clearing out                        Nogueiras

   316                  UWT CCTV                                       USCP          CCTV
                Parliamentarian Door Breach                          Nogueiras

   317                Clip_C0076.MP4                                 Nogueiras    Def. camera
                Parliamentarian Door breach                                         SD card
   318                  BF TikTok 1                                    USCP      Brandon
              Parliamentarian Door Breach                                        Fellows
                                                                                 TikTok
                                                                                 obtained
                                                                                 through open
                                                                                 source of D.
                                                                                 TikTok page

   319         Senate Wing Door/Holding line                           USCP          CCTV
                    and 2nd Breach CCTV
                            4:00
   320            Screenshot of cell phone                           Nogueiras    Def. camera
                         C0081.MP4                                                  SD card
                          2:59 pm
   321                Clip_C0081.MP4                                 Nogueiras    Def. camera
                           Enters                                                   SD card




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   322              Senate Wing Door                                  USCP         CCTV
                          CCTV
                     Enters Window
   323               Clip_C0082.MP4                                 Nogueiras   Def. camera
                   Sen Merkley’s office                                           SD card
Government          Exhibit Description        Marked     Rec’d     Witness        Notes
Exhibit No.                                     for ID     into
                                                         Evidence
   324               Clip_C0083.MP4                                 Nogueiras   Def. camera
                     Hallway to Crypt                                             SD card
   325              Crypt North CCTV                                  USCP         CCTV
                          Inside Crypt
   326              Clip_Crypt_Face_                                Nogueiras    HQ FB SW
              04a782ce4d0d75cb1e789066ddc                                         1/11/21
                     88a.mp4-.mp4
   327            VP Webster Relocation                               USCP


   328        Clip_Crypt_04a782ce4d0d75cb1                          Nogueiras    HQ FB SW
                 e789066ddc88a.mp4-.mp4                                           1/11/21

   329              Senate Wing Door                                  USCP         CCTV
                   CCTV Exits Window
   330                         C0086.MP4                            Nogueiras   Def. camera
              Outside on UWT                                                       SD card
   331          Trim.A7F6C062-5580-48DC-                            Nogueiras    Def. iPhone
                 AF28-E0EBD915B2CB.MOV

   332                 Clip_in the                                  Nogueiras   Def. iPhone
              dark_TXUGC_54D88FF1-0F95-
              4B22-A145-C3F19EFF990E.mp4
   333                    C0072                                     Nogueiras
                     Climbing walls
   334                    C0077                                     Nogueiras
                      “Tell our Kids”



                     400-499 Series:
                   Instagram/Facebook




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400                    FB Post                              Nogueiras     HQ FB SW
                   Had a good time                                         1/11/21

401                FB Post received                         Nogueiras     HQ FB SW
                     About certification                                   1/11/21

402            Instagram - Public Post –                    Nogueiras     HQ FB SW
                 Inside the Capitol-DC                                     1/11/21

403         Facebook live/Jessecha Rivera                     Chan      Open source
                Jan. 7, 2022 – Part 1                                   online

404            FB Affidavit x6485(PNS)                      Nogueiras     PNS FB SW
                                                                        1/20/21
405            FB Affidavit x3469 (HQ)                      Nogueiras     HQ FB SW
                                                                           1/11/21




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